                  UNITED STATES BANKRUPTCY COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Dennis M Habbert, Jr

                                                            Case No.: 1-20-00444 HWV

                                                            Chapter 13
                      Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Rushmore
 Court Claim Number:             02
 Last Four of Loan Number:       4395
 Property Address if applicable: 2170 Windsor Rd

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                      $15,246.77
 b.      Prepetition arrearages paid by the trustee:                          $15,246.77
 c.      Amount of postpetition fees, expenses, and charges                   $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                   $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                     $0.00
 f.       Postpetition arrearage paid by the trustee:                         $0.00
 g.       Total b, d, and f:                                                  $15,246.77

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve o01945n the debtor(s),
 their counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Date: June 24, 2025
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Dennis M Habbert, Jr

                                                           Case No.: 1-20-00444 HWV

                                                           Chapter 13
                    Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on June 24, 2025 I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
PA, unless served electronically.

 Served Electronically
 Steven M Carr, Esquire
 119 East Market St
 York PA 17402


 Served by First Class Mail
 Rushmore Loan Management SVC
 PO Box 619079
 Dallas TX 75261-9079

 Dennis M Habbert, Jr
 2170 Windsor Rd
 Windsor PA 17366


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: June 24, 2025                                   /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                               Disbursements for Claim
Case: 20-00444            DENNIS M. HABBERT, JR.
         RUSHMORE SERVICING
                                                                                  Sequence: 24
         P.O. BOX 619094
                                                                                     Modify:
                                                                                 Filed Date:
         DALLAS, TX 75261-
                                                                                 Hold Code: M
 Acct No: 2170 Windsor Rd - PRE-ARREARS - 4395
         ARREARS - 2170 WINDSOR ROAD MFR # 58 5/14/25


                                                  Debt:       $15,843.63       Interest Paid:              $0.00
        Amt Sched:               $115,778.22                                     Accrued Int:               $0.00
         Amt Due:        $0.00                    Paid:       $15,246.77        Balance Due:              $596.86

Claim name                              Type       Date        Check #     Principal     Interest       Total Reconciled
                                                                                              DisbDescrp
 5200        RUSHMORE SERVICING
520-0 RUSHMORE SERVICING                         11/19/2024    2042285      $414.00        $0.00     $414.00 12/03/2024


520-0 RUSHMORE SERVICING                         10/23/2024    2041319     $1,242.00       $0.00   $1,242.00 11/01/2024


520-0 RUSHMORE SERVICING                         07/10/2024    2038413      $414.00        $0.00     $414.00 07/24/2024


520-0 RUSHMORE SERVICING                         06/18/2024    2037593      $828.00        $0.00     $828.00 06/28/2024


520-0 RUSHMORE SERVICING                         05/22/2024    2036699      $828.00        $0.00     $828.00 06/03/2024


520-0 RIGHT PATH SERVICING                       03/14/2024    2034710      $414.00        $0.00     $414.00 03/27/2024


520-0 RIGHT PATH SERVICING                       01/12/2024    2032814      $828.00        $0.00     $828.00 01/24/2024


520-0 RIGHT PATH SERVICING                       11/15/2023    2030963      $828.00        $0.00     $828.00 11/29/2023


520-0 RIGHT PATH SERVICING                       09/19/2023    2029046      $871.20        $0.00     $871.20 09/29/2023


520-0 RIGHT PATH SERVICING                       07/11/2023    2027036     $1,306.80       $0.00   $1,306.80 07/20/2023


520-0 RIGHT PATH SERVICING                       06/13/2023    2026118      $418.50        $0.00     $418.50 06/23/2023


520-0 RIGHT PATH SERVICING                       04/18/2023    2024178      $418.50        $0.00     $418.50 04/28/2023


520-0 RIGHT PATH SERVICING                       03/15/2023    2023139      $837.00        $0.00     $837.00 03/24/2023


520-0 RIGHT PATH SERVICING                       02/15/2023    2022143      $837.00        $0.00     $837.00 02/24/2023



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Claim name                           Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                          DisbDescrp
520-0 RIGHT PATH SERVICING                  11/16/2022       2019187      $418.50      $0.00     $418.50 12/09/2022


520-0 RIGHT PATH SERVICING                  10/18/2022       2018162      $837.00     $0.00     $837.00 10/27/2022


520-0 RIGHT PATH SERVICING                  09/13/2022       2017091      $441.45     $0.00      $441.45 09/22/2022


520-0 COMMUNITY LOAN SERVICING LLC          07/13/2022       2014544      $821.70     $0.00     $821.70 07/22/2022


520-0 COMMUNITY LOAN SERVICING LLC          03/16/2022       2010445      $821.70     $0.00     $821.70 03/29/2022


520-0 COMMUNITY LOAN SERVICING LLC          02/16/2022       2009472      $410.85     $0.00      $410.85 02/28/2022


520-0 COMMUNITY LOAN SERVICING LLC          12/15/2021       2007452      $410.85     $0.00      $410.85 12/24/2021


520-0 COMMUNITY LOAN SERVICING LLC          11/16/2021       2006426      $410.85     $0.00      $410.85 11/29/2021


520-0 LOANCARE, LLC                         10/14/2021       9012244      $188.87     $0.00     $188.87 10/14/2021


                                                          Sub-totals: $15,246.77      $0.00 $15,246.77

                                                         Grand Total: $15,246.77      $0.00




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